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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

BETTY YOUNG,
    Plaintiff,
vs.
                                                CASE NO. 3:20cv5818-TKW/MJF
CENTURION OF FLORIDA, LLC, et al.,
     Defendants.
________________________________/

                 PLAINTIFF’S NOTICE OF SETTLEMENT
      Plaintiff Betty Young hereby notifies this Honorable Court that the parties have

reached a settlement in principle. The settlement documents are currently being

prepared, and the parties will file a Stipulation of Dismissal with Prejudice upon

consummation of the settlement.

      Respectfully submitted this 10th day of June, 2021.

                                           TEIN MALONE PLLC
                                           Counsel for Plaintiff

                                           /s/ Gaye L. Huxoll ________
                                           Gaye L. Huxoll
                                           Florida Bar No. 149497
                                           ghuxoll@teinmalone.com
                                           (305) 442-1101
